           Case 4:19-cv-01530 Document 1 Filed on 04/26/19 in TXSD Page 1 of 5




UNITED STATES DISTRICT COURT                                        SOUTHERN DISTRICT OF TEXAS


     United States of America,                              §
                                                            §
                       Plaintiff,                           §
                                                            §
     vs.                                                    §        Civil Action ______________
                                                            §    (CDCS: 2017A34698/2017A34718/2017A34725/
                                                                          2017A34732/2017A34761)
                                                            §
     Andres Garcia d/b/a All Care EMS,                      §
                                                            §
                       Defendant.                           §


                                                     Complaint
1.         Jurisdiction. The district court has jurisdiction because the United States is a party. See U.S.

           CONST., art III, § 2, and 28 U.S.C. § 1345.

2.         Venue. The defendant resides in Fort Bend County, Texas, and may be served with process

           at 1206 Moray Drive, Rosenberg, Texas 77471.

3.         The Debt. The debt owed to the United States arose through Department of Health

           & Human Services, Centers for Medicare & Medicaid Services, Medicare

           Overpayment. See findings on each overpayment. The debt on the date of the

           Certificate of Indebtedness was:

           (A) CDCS 2017A34698

           A.       Current principal                                                $            346.22

           B.       Interest (capitalized and accrued)                               $            110.06

           C.       Administrative fees, costs, penalties                            $            400.00
                    (Including $400.00 Filing fee)


           D.       Attorney's fees                                                  $             50.00
Case 4:19-cv-01530 Document 1 Filed on 04/26/19 in TXSD Page 2 of 5




E.     Balance due                                                 $            906.28


F.     Prejudgment interest accrues at 10.12% per annum being $0.10 per day.


(B) CDCS 2017A34718

A.    Current principal                                        $          17,849.66

B.    Interest (capitalized and accrued)                       $               5,674.68

C.    Administrative fees, costs, penalties                    $                   0.00

D.    Attorney’s fees                                          $                785.00

E.    Balance due                                              $          24,309.34

F.    Prejudgment interest accrues at 10.12% per annum being $4.95 per day.

(C) CDCS 2017A34725

A.    Current principal                                        $         112,690.72

B.    Interest (capitalized and accrued)                       $          27,204.51

C.    Administrative fees, costs, penalties                    $                   0.00

D.    Attorney’s fees                                          $                785.00

E.    Balance due                                              $         140,680.23

F.    Prejudgment interest accrues at 10.75% per annum being $33.19 per day.

(D) CDCS 2017A34732

A.    Current principal                                        $          16,182.94

B.    Interest (capitalized and accrued)                       $               5,144.29

C.    Administrative fees, costs, penalties                    $                   0.00

D.    Attorney’s fees                                          $                785.00

E.    Balance due                                              $          22,112.23
     Case 4:19-cv-01530 Document 1 Filed on 04/26/19 in TXSD Page 3 of 5



      F.        Prejudgment interest accrues at 10.12% per annum being $4.49 per day.

      (E) CDCS 2017A34761

      A.        Current principal                                          $           15,629.45

      B.        Interest (capitalized and accrued)                         $             4,968.65

      C.        Administrative fees, costs, penalties                      $                  0.00

      D.        Attorney’s fees                                            $              785.00

      E.        Balance due                                                $           21,383.10

      F.        Prejudgment interest accrues at 10.12% per annum being $4.33 per day.



Total Due (CDCS 2017A34698, 2017A34718, 2017A34725, 2017A34732 and 2014A52950)

                                                                           $          209,391.18

      G.        The current principal in paragraph 3(A)A, 3(B)A, 3(C)A, 3(D)A and 3(E)A is

                after credits of $0.00.

4.    Default. The United States has demanded that the defendant pay the indebtedness,

      and the defendant has failed to pay it. See Exhibits F, G, H, I and J. Demand Letters

      notifying debtor of the overpayments and the statutory basis for the overpayment

      claims.

5.    Prayer. The United States prays for judgment for:

      A.        The sums in paragraph 3, pre-judgment interest, administrative costs, and post-
                judgment interest.

      B.        Attorney's fees; and,

      C.        Other relief the court deems proper.
Case 4:19-cv-01530 Document 1 Filed on 04/26/19 in TXSD Page 4 of 5




                                  Respectfully submitted,

                                  CERSONSKY, ROSEN & GARCÍA, P.C.


                              By: /s/ M. H. Cersonsky
                                  M. H. Cersonsky, TBN: 04048500
                                  1770 St. James Place, Suite 150
                                  Houston, Texas 77056
                                  Telephone: (713) 600-8500
                                  Fax: (713) 600-8585

                                  Attorneys for Plaintiff

     For Important Information About This Lawsuit Please See Next Page.
     Case 4:19-cv-01530 Document 1 Filed on 04/26/19 in TXSD Page 5 of 5




                       Federal Court Suit

1.   You have been served in a lawsuit.

2.   If you dispute the debt in it, you must file a written response to the
     lawsuit with the court and the government’s lawyer. If you do not,
     a default judgment will be taken against you.

3.   Your written response is due 21 days after the day you got the lawsuit
     papers.

4.   Mail your written response to:

                 Clerk
                 United States District Court
                 P.O. Box 61010
                 Houston, Texas 77208

     and send a copy to the lawyers for the United States at:

                 M. H. Cersonsky
                 Cersonsky, Rosen & García, P.C.
                 1770 St. James Place, Suite 150
                 Houston, Texas 77056

     Be sure to put your case number and name on your response.

5.   If you do not dispute the debt claimed in the lawsuit and want a
     payment plan, please contact Eddith Salazar at (713) 600-8500.
Case 4:19-cv-01530 Document 1-1 Filed on 04/26/19 in TXSD Page 1 of 1
Case 4:19-cv-01530 Document 1-2 Filed on 04/26/19 in TXSD Page 1 of 1
Case 4:19-cv-01530 Document 1-3 Filed on 04/26/19 in TXSD Page 1 of 1
Case 4:19-cv-01530 Document 1-4 Filed on 04/26/19 in TXSD Page 1 of 1
Case 4:19-cv-01530 Document 1-5 Filed on 04/26/19 in TXSD Page 1 of 1
Case 4:19-cv-01530 Document 1-6 Filed on 04/26/19 in TXSD Page 1 of 6
Case 4:19-cv-01530 Document 1-6 Filed on 04/26/19 in TXSD Page 2 of 6
Case 4:19-cv-01530 Document 1-6 Filed on 04/26/19 in TXSD Page 3 of 6
Case 4:19-cv-01530 Document 1-6 Filed on 04/26/19 in TXSD Page 4 of 6
Case 4:19-cv-01530 Document 1-6 Filed on 04/26/19 in TXSD Page 5 of 6
Case 4:19-cv-01530 Document 1-6 Filed on 04/26/19 in TXSD Page 6 of 6
Case 4:19-cv-01530 Document 1-7 Filed on 04/26/19 in TXSD Page 1 of 22
Case 4:19-cv-01530 Document 1-7 Filed on 04/26/19 in TXSD Page 2 of 22
Case 4:19-cv-01530 Document 1-7 Filed on 04/26/19 in TXSD Page 3 of 22
Case 4:19-cv-01530 Document 1-7 Filed on 04/26/19 in TXSD Page 4 of 22
Case 4:19-cv-01530 Document 1-7 Filed on 04/26/19 in TXSD Page 5 of 22
Case 4:19-cv-01530 Document 1-7 Filed on 04/26/19 in TXSD Page 6 of 22
Case 4:19-cv-01530 Document 1-7 Filed on 04/26/19 in TXSD Page 7 of 22
Case 4:19-cv-01530 Document 1-7 Filed on 04/26/19 in TXSD Page 8 of 22
Case 4:19-cv-01530 Document 1-7 Filed on 04/26/19 in TXSD Page 9 of 22
Case 4:19-cv-01530 Document 1-7 Filed on 04/26/19 in TXSD Page 10 of 22
Case 4:19-cv-01530 Document 1-7 Filed on 04/26/19 in TXSD Page 11 of 22
Case 4:19-cv-01530 Document 1-7 Filed on 04/26/19 in TXSD Page 12 of 22
Case 4:19-cv-01530 Document 1-7 Filed on 04/26/19 in TXSD Page 13 of 22
Case 4:19-cv-01530 Document 1-7 Filed on 04/26/19 in TXSD Page 14 of 22
Case 4:19-cv-01530 Document 1-7 Filed on 04/26/19 in TXSD Page 15 of 22
Case 4:19-cv-01530 Document 1-7 Filed on 04/26/19 in TXSD Page 16 of 22
Case 4:19-cv-01530 Document 1-7 Filed on 04/26/19 in TXSD Page 17 of 22
Case 4:19-cv-01530 Document 1-7 Filed on 04/26/19 in TXSD Page 18 of 22
Case 4:19-cv-01530 Document 1-7 Filed on 04/26/19 in TXSD Page 19 of 22
Case 4:19-cv-01530 Document 1-7 Filed on 04/26/19 in TXSD Page 20 of 22
Case 4:19-cv-01530 Document 1-7 Filed on 04/26/19 in TXSD Page 21 of 22
Case 4:19-cv-01530 Document 1-7 Filed on 04/26/19 in TXSD Page 22 of 22
Case 4:19-cv-01530 Document 1-8 Filed on 04/26/19 in TXSD Page 1 of 6
Case 4:19-cv-01530 Document 1-8 Filed on 04/26/19 in TXSD Page 2 of 6
Case 4:19-cv-01530 Document 1-8 Filed on 04/26/19 in TXSD Page 3 of 6
Case 4:19-cv-01530 Document 1-8 Filed on 04/26/19 in TXSD Page 4 of 6
Case 4:19-cv-01530 Document 1-8 Filed on 04/26/19 in TXSD Page 5 of 6
Case 4:19-cv-01530 Document 1-8 Filed on 04/26/19 in TXSD Page 6 of 6
Case 4:19-cv-01530 Document 1-9 Filed on 04/26/19 in TXSD Page 1 of 20
Case 4:19-cv-01530 Document 1-9 Filed on 04/26/19 in TXSD Page 2 of 20
Case 4:19-cv-01530 Document 1-9 Filed on 04/26/19 in TXSD Page 3 of 20
Case 4:19-cv-01530 Document 1-9 Filed on 04/26/19 in TXSD Page 4 of 20
Case 4:19-cv-01530 Document 1-9 Filed on 04/26/19 in TXSD Page 5 of 20
Case 4:19-cv-01530 Document 1-9 Filed on 04/26/19 in TXSD Page 6 of 20
Case 4:19-cv-01530 Document 1-9 Filed on 04/26/19 in TXSD Page 7 of 20
Case 4:19-cv-01530 Document 1-9 Filed on 04/26/19 in TXSD Page 8 of 20
Case 4:19-cv-01530 Document 1-9 Filed on 04/26/19 in TXSD Page 9 of 20
Case 4:19-cv-01530 Document 1-9 Filed on 04/26/19 in TXSD Page 10 of 20
Case 4:19-cv-01530 Document 1-9 Filed on 04/26/19 in TXSD Page 11 of 20
Case 4:19-cv-01530 Document 1-9 Filed on 04/26/19 in TXSD Page 12 of 20
Case 4:19-cv-01530 Document 1-9 Filed on 04/26/19 in TXSD Page 13 of 20
Case 4:19-cv-01530 Document 1-9 Filed on 04/26/19 in TXSD Page 14 of 20
Case 4:19-cv-01530 Document 1-9 Filed on 04/26/19 in TXSD Page 15 of 20
Case 4:19-cv-01530 Document 1-9 Filed on 04/26/19 in TXSD Page 16 of 20
Case 4:19-cv-01530 Document 1-9 Filed on 04/26/19 in TXSD Page 17 of 20
Case 4:19-cv-01530 Document 1-9 Filed on 04/26/19 in TXSD Page 18 of 20
Case 4:19-cv-01530 Document 1-9 Filed on 04/26/19 in TXSD Page 19 of 20
Case 4:19-cv-01530 Document 1-9 Filed on 04/26/19 in TXSD Page 20 of 20
Case 4:19-cv-01530 Document 1-10 Filed on 04/26/19 in TXSD Page 1 of 20
Case 4:19-cv-01530 Document 1-10 Filed on 04/26/19 in TXSD Page 2 of 20
Case 4:19-cv-01530 Document 1-10 Filed on 04/26/19 in TXSD Page 3 of 20
Case 4:19-cv-01530 Document 1-10 Filed on 04/26/19 in TXSD Page 4 of 20
Case 4:19-cv-01530 Document 1-10 Filed on 04/26/19 in TXSD Page 5 of 20
Case 4:19-cv-01530 Document 1-10 Filed on 04/26/19 in TXSD Page 6 of 20
Case 4:19-cv-01530 Document 1-10 Filed on 04/26/19 in TXSD Page 7 of 20
Case 4:19-cv-01530 Document 1-10 Filed on 04/26/19 in TXSD Page 8 of 20
Case 4:19-cv-01530 Document 1-10 Filed on 04/26/19 in TXSD Page 9 of 20
Case 4:19-cv-01530 Document 1-10 Filed on 04/26/19 in TXSD Page 10 of 20
Case 4:19-cv-01530 Document 1-10 Filed on 04/26/19 in TXSD Page 11 of 20
Case 4:19-cv-01530 Document 1-10 Filed on 04/26/19 in TXSD Page 12 of 20
Case 4:19-cv-01530 Document 1-10 Filed on 04/26/19 in TXSD Page 13 of 20
Case 4:19-cv-01530 Document 1-10 Filed on 04/26/19 in TXSD Page 14 of 20
Case 4:19-cv-01530 Document 1-10 Filed on 04/26/19 in TXSD Page 15 of 20
Case 4:19-cv-01530 Document 1-10 Filed on 04/26/19 in TXSD Page 16 of 20
Case 4:19-cv-01530 Document 1-10 Filed on 04/26/19 in TXSD Page 17 of 20
Case 4:19-cv-01530 Document 1-10 Filed on 04/26/19 in TXSD Page 18 of 20
Case 4:19-cv-01530 Document 1-10 Filed on 04/26/19 in TXSD Page 19 of 20
Case 4:19-cv-01530 Document 1-10 Filed on 04/26/19 in TXSD Page 20 of 20
